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 4
                                   UNITED STATES DISTRICT COURT
 5
                                      DISTRICT OF NEVADA
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                                                 ***
 7
     UNITED STATES OF AMERICA,        )
 8                                    )
                Plaintiff,            )
 9                                    )
     vs.                              )                2:12-cr-155-JCM-VCF
10                                    )
     HARLAN QUESTORIA HIGA,           )
11                                    )
                Defendant.            )                       ORDER
12   ________________________________)
13
            On January 23, 2013, the court granted Saraliene S. Durrett, Esq.’s “Motion to
14
     Withdraw as Counsel of Record for Harlan Higa”           (#33) and ordered new counsel
15
     appointed (#35). Therefore;
16
            IT IS HEREBY ORDERED that Peter S. Christiansen, Esq. is appointed as counsel
17
     for Harlan Questoria Higa in place of Saraliene S. Durrett, Esq. for all future proceedings.
18
            IT IS FURTHER ORDERED that Ms. Durrett shall forward the file to
19
     Mr. Christiansen forthwith.
20
21                      31st
            DATED this _______ day of January, 2013.
22          Nunc Pro Tunc Date: January 30, 2013.
23
24
25                                                     _____________________________
                                                       JAMES M. MAHAN
26                                                     United States District Judge
27
28
